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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

    PATSY WIDAKUSWARA, et al.,
                                                            No. 1:25-cv-01015-RCL
                         Plaintiffs,

          v.

    KARI LAKE, et al.,

                         Defendants.


                         DECLARATION OF PATSY WIDAKUSWARA

     I PATSY WIDAKUSWARA hereby declare under penalty of perjury the following:

         1.     Until recently, I was the White House Bureau Chief for Voice of America. I was

placed on administrative leave on March 15, 2025. I am a named plaintiff in this case.

         2.     The information contained herein is based on my personal knowledge as well as

information from current USAGM and Voice of America (VOA) employees.

VOA Persian

         3.     Prior to March 15, 2025, VOA Persian worked as a 24/7 news operation,

broadcasting 168 hours of television each week. 1

         4.     Between June 23 and June 27 VOA Persian broadcast original television news

coverage only 30 to 45 minutes each day. 2




1
 USAGM Congressional Budget Justification FY 2025, at pg. 86, https://www.usagm.gov/wp-
content/uploads/2024/03/USAGMBudget_FY25_CBJ_03-08-24-1.pdf
2
 See Axios, VOA’s Iran Mess (June 24, 2025), https://www.axios.com/2025/06/24/voa-s-iran-
mess-media-trends

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           5.   On June 20, 2025, approximately half of VOA Persian FTEs received RIF

notices, along with hundreds of other VOA staff. (The contracts of all VOA Personal Services

Contractors (PSCs) were previously terminated, effective May 30, 2025.) The RIF notices stated

that the FTE staff remain on administrative leave until terminated on September 1, 2025. That

day, VOA Persian broadcast a repeat of the prior day’s newscast.

           6.   On June 27, 2025, the affected FTEs were informed that the RIF notices were

recalled. On July 1, 2025, the FTEs were further notified that RIFs would again be “upcoming.”

Dari and Pashto Languages

           7.   I have been informed that following the June 20 RIF notice, the Afghan Service

had only two people working between June 20 to June 26. One of them has only minimum

speaking fluency in Dari, and no ability to read or write in either Dari or Pashto. During the

course of that week, no radio programming was produced at all, and only a handful of digital

stories.

           8.   On June 27, management hastily added people to the team. Currently there are

seven people assigned to the service full time. Most of them have limited broadcast production

skills and the only person with extensive audio and video editing ability does not speak, read, or

write in either Dari or Pashto.

           9.   The service’s current output in terms of quality and quantity is miniscule

compared to what it used to be prior to the shutdown. Pre March 15, 2025, the Afghan Service

produced 34 hours of television and 84 hours of radio per week, as well as 24/7 website and




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digital news coverage. 3 As per the latest fully released USAGM survey, six in ten adult mobile

phone users consumed VOA Afghan content and more than 90% of those said they trusted it. 4

       10.     As of June 30, 2025, there are only three people working at VOA Central News,

none of them are news editors with experience to vet content. The lack of editors further

weakens editorial workflow in place prior to March 15, 2025 to ensure checks and balances

necessary to carrying out the VOA Charter and Mission.

       11.     Prior to March 15, 2025, the Afghan service had senior editorial managers and the

VOA Standards Editor to ensure assistance and training as needed on adhering to the VOA

Charter and journalism best practices. As of March 15, 2025 the Standards Editor was placed on

administrative leave and has never been recalled.

       12.     Prior to March 15, 2025, the Afghan Service had a strong track record in reaching

audiences despite Taliban efforts to block broadcasts.

       13.     After the Taliban takeover in 2021, the VOA Afghan service provided a 24/7

direct to home satellite service, alternate radio broadcasts including on shortwave and

AM/medium wave radio from a neighboring country, and increased social media engagement.

Currently, the Afghan Service does not have this capacity.

Office of Cuba Broadcasting

       14.     The mission of OCB is “to promote freedom and democracy by providing the

people of Cuba with objective news and information programming.” The network fulfills this

mission by providing “multimedia hub of unbiased and objective news, information, and analysis



3
 USAGM Congressional Budget Justification FY 2025, at pg. 85, https://www.usagm.gov/wp-
content/uploads/2024/03/USAGMBudget_FY25_CBJ_03-08-24-1.pdf
4
 See VOA Public Relations release, https://www.insidevoa.com/a/despite-taliban-s-censorship-
voa-continues-broadcasting-to-millions-in-afghanistan-/7226001.html

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that provide the people of Cuba with interactive programs seven days a week through satellite

television, shortwave and AM radio, and digital platforms.” 5 The mission does not extend to

Latin America.

VOA Programming on the 50 U.S. States

       15.    VOA consistently broadcasts news about the 50 U.S. States. For example:

              (a) VOA Korean released a series in 2015 and 2016, profiling all 50 states via

       radio and digital platforms (https://www.voakorea.com/z/4427);

              (b) A VOA Korean video series from 2018 to 2020 covered 39 states

       (https://youtube.com/playlist?list=PLyrKtIDPb59KYtoVSg4nSBU-

       67DnPzwIl&si=nny_tK5hng9kM5O4);

              (c) VOA Central News 2017 series “Off the Highway” explored the concerns of

       Americans living in small towns and rural areas. The series was aired by multiple VOA

       language services (https://projects.voanews.com/off-the-highway/archive/);

              (d) VOA Indonesia in 2024 series focused on railway travel to highlight 26 states

       in 16 days (https://www.youtube.com/watch?v=u7Cv_bnPZjw);

              (e) VOA Central News 2024 five-part series, ‘River at Risk’ reported from seven

       U.S. states in the Colorado River Basin (https://projects.voanews.com/river-at-risk/); and

              (f) VOA’s Africa Division in 2024 hosted multi-language studio events with

       diaspora voters across the U.S. (Somali, Bambara, French, English); produced coverage

       that explained U.S trade and investment; and explained U.S. culture including the four-

       year partnership “Basketball Africa League/NBA Partnership.”



5
 See U.S. Agency for Global Media, Office for Cuba Broadcasting,
https://www.usagm.gov/networks/ocb/

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       I declare under penalty of perjury that the foregoing is true and correct.

Dated: July 2, 2025
                                                       Patsy Widakuswara
                                                       Patsy Widakuswara (Jul 2, 2025 19:56 EDT)
                                                             ___________________________
                                                             PATSY WIDAKUSWARA




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